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IN THE SUPREME COURT OF THE STATE OF OKLAHOMA

CERTIFICATE

I, John D. Hadden, Clerk of the Supreme Court of the State of Oklahoma,
do hereby certify that Clark O. Brewster, of Tulsa, OK, was admitted to practice in the
Supreme Court of the State of Oklahoma upon Exam, on May 8", 1981, and is now an
attorney and counselor at law in good standing at the Bar of said State.

WITNESS, my hand and the Seal of the Supreme Court of the State of

Oklahoma, this the 23 day of April, 2019.

JOHN D. HADDEN, CLERK
SUPREME COURT OF OKLAHOMA

fd Sua
